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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

EMRICH CROUCH,                                )
                                              )
               Plaintiff,                     )
                                              )
        v.                                    )         CAUSE NO. 1:17-cv-03294-TWP-TAB
                                              )
CENTENE MANAGEMENT                            )
COMPANY, LLC                                  )
                                              )
               Defendant.                     )

                               STIPULATION OF DISMISSAL

        Come now the parties, by counsel, and pursuant to Fed. R. Civ. P. 41(a) hereby stipulate

and agree that the above-titled action be dismissed in its entirety, with prejudice, each party to

bear his/its own costs, attorneys' fees and expenses.

                                              Respectfully submitted,

                                              s/ Jay Meisenhelder
                                              Jay Meisenhelder
                                              JAY MEISENHELDER EMPLOYMENT &
                                              CIVIL RIGHTS LEGAL SERVICES, P.C.
                                              650 North Girls School Road, Suite B20
                                              Indianapolis, IN 46214
                                              jaym@ecrls.com
                                              ATTORNEYS FOR PLAINTIFF

                                              s/ Germaine Winnick Willett
                                              Tami A. Earnhart, Atty. No. 21610-49
                                              Germaine Winnick Willett, Attorney No. 21151-73
                                              ICE MILLER LLP
                                              One American Square, Suite 2900
                                              Indianapolis, IN 46282-0200
                                              Tami.Earnhart@icemiller.com
                                              germaine.willett@icemiller.com
                                              ATTORNEYS FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 15, 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to the following parties by operation of the
Court's electronic filing system. Parties may access this filing through the Court's system.

                             Jay Meisenhelder
                             JAY MEISENHELDER EMPLOYMENT &
                             CIVIL RIGHTS LEGAL SERVICES, P.C.
                             650 North Girls School Road, Suite B20
                             Indianapolis, IN 46214
                             jaym@ecrls.com



                                            s/ Germaine Winnick Willett
                                            Germaine Winnick Willett

 ICE MILLER LLP
 One American Square, Suite 2900
 Indianapolis, Indiana 46282-0200
 Telephone: (317) 236-5993
 Facsimile: (317) 592-4841
 germaine.willett@icemiller.com




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